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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                           CRIMINAL 13-0534CCC
82) JORGE L. RODRIGUEZ,
a/k/a “Piñita,” “Piña” (Counts ONE
through SIX)
Defendant



                                     ORDER

     Having considered the Report and Recommendation filed on August 29,
2014 (docket entry 1739) on a Rule 11 proceeding of defendant [82] Jorge L.
Rodríguez-Cruz before U.S. Magistrate-Judge Camille L. Vélez-Rivé on
August 8, 2014, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since August 8, 2014. The sentencing
hearing is set for November 18, 2014 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on September 17, 2014.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
